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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA,               §
                                        §
         Plaintiff/Respondent.          §
                                        §
                                        §    CRIMINAL NO. H-10-862-2
VS.                                     §    CIVIL ACTION H-12-896
                                        §
DONNIE HUE SMITH,                       §
                                        §
          Defendant/Movant,             §


                              OPINION AND ORDER

        Pending before the Court in the above referenced cause are (1)

pro se Movant Donnie Hue Smith’s (“Smith’s” or “Movant’s”) § 2255

motion to vacate, set aside or correct sentence (instrument #212 in

H-10-CR-862-2); #1 in H-12-CV-896); (2) the United States’ motion

to dismiss (#218 and 219 in H-10-CR-862-2); and (3) United States

Magistrate Judge Frances Stacy’s memorandum and recommendation

(#226 in H-10-CR-862-2) that the government’s motion be granted and

Movant’s § 2255 motion be denied.                Movant did not file any

objections to the Magistrate Judge’s memorandum and recommendation.

        A pro se complaint is “held to less stringent standards than

formal pleadings drafted by lawyers.” Estelle v. Gamble, 429 U.S.

97, 106 (1976); Haines v. Kerner, 404 U.S. 519, 521 (1972).             Pro se

pleadings are liberally construed.              Haines, 404 U.S. at 521.

Nevertheless pro se litigants must provide sufficient facts in



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support of their claims; “mere conclusory allegations on a critical

issue are insufficient to raise a constitutional issue.”             United

States v. Pineda, 988 F.2d 22, 23 (5th Cir. 1993). “Absent evidence

in the record, a court cannot consider a habeas petitioner’s bald

assertions on a critical issue in his pro se petition (in state and

federal court), unsupported and unsupportable by anything else

contained in the record, to be of probative evidentiary value.”

Ross v. Estelle, 694 F.2d 1009, 1011 (5th Cir. 1983); see also U.S.

v. Onwuasoanya, 180 F.3d 261 (Table), No. 96-20877, 1999 WL

274479, *2 (5th Cir. Apr. 16, 1999).       “[A] district court does not

commit error when it disposes of a habeas petitioner’s claims

without holding a full-fledged hearing when those claims are

unmeritorious, conclusory, and wholly unsupported by the record.”

Id. at 1011 n.2; id.

     On April 15, 2011 Movant pled guilty without a written plea

agreement to a one-count indictment for conspiracy to commit wire

fraud, in violation of 18 U.S.C. § 1349 (#65), against Columbia

Lloyds Insurance Company (“Columbia Lloyds”), where one of Smith’s

co-defendants, Carla Jean Johnson (“Johnson”),1 worked.           He joined

     1
       In the money-laundering scheme at issue here, entangling at
least fourteen individuals, Johnson, an employee of Columbia Lloyds
with access to its bank accounts, involved friends and family as
co-conspirators and wrote checks or transferred money from Columbia
Lloyds to these co-conspirators, who would receive the money and
then send a portion of it back to Johnson. Her modus operandi was
to contact the person whose account the money was to go into, get
his or her account number, and let the person know that the money
would be coming and what percentage should be sent back to Johnson

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the conspiracy on January 26, 2009 and remained involved until July

10, 2009, during which period he dated Johnson.                    On July 10, 2009

he and Johnson tried to cash a check for $180,000 written to his

attention from Columbia Lloyds at Wachovia Bank, but actually

issued      by    Johnson.       A    Wachovia    Bank    representative       became

suspicious and contacted Columbia Lloyds and learned that the check

had not been authorized.               In addition Movant received eleven

transactions consisting of ten automated clearinghouse transfers

(#174,914.19).          A $19,606.14 transfer intended for Movant did not

fund.       There were also other checks provided to him.                The Court

found that the intended loss was $408,546.59, minus the $19,606.14,

and the actual loss was $199,914.19.                   The Court also found that

Movant’s role in the conspiracy was “average.”                     The government’s

attorney argued for an upward departure, and the Court imposed a

sentence at the high end of the applicable guideline.                    The Court

explained        that    she   “believe[d]      that    such   a    sentence   would

adequately reflect the seriousness of the offense, promote respect

for the law, provide deterrence to future criminal conduct, and

address the Defendant’s background characteristics as outlined in

18, United States Code, Section 3553(a).” Transcript of Sentencing

Hearing (#221 at p. 25.2             Because at the time of Movant’s initial


from that person and that transaction.
        2
       During the sentencing hearing the government’s counsel
pointed out the Smith attempted to defraud Columbia Lloyds of a
substantial amount of money, indeed hundreds of thousands of

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sentencing on September 15, 2011 (#151) the fact that Smith had a

parole violator’s warrant pending in Louisiana was not raised, the

Court entered an amended judgment on December 2, 2011 (#182) that

clarified that Smith’s federal sentence was to be served concurrent

to any sentence imposed by the State of Louisiana.

     According to the pre-sentence investigation report (“PSR”)3

prepared for Movant, his advisory guideline sentence was calculated

as follows.   First, he had a base offense level of 7 under United



dollars, to which he knew he did not have a right, caused people at
Columbia Lloyds to lose their jobs and impacted this small family-
run business, and had been in and out of jail for various offenses.
(Movant had a marijuana conviction in 1998, two years later was put
on probation for involvement with drugs in Louisiana, had his
probation revoked around 2005-06 and served the rest of his
sentence, and was out on parole when he was committed the fraud at
issue here. Transcript, #221, at p. 17.)
     3
       As opined by the district court in Anderson v. U.S., Nos.
3:10-CV-02227-B-BH and 3:08-CR-134-B, 2010 WL 2382336, *3 (N.D.
Tex. May 10, 2010),

     A PSR generally “bears sufficient indicia of reliability,
     such that a sentencing judge may consider it as evidence
     in making the factual determinations required by the
     Sentencing Guidelines.”    United States v. Huerta, 182
     F.3d 361, 364 (5th Cir. 1999). While “a district court
     must resolve disputed issues of fact if it intends to use
     those facts as a basis for sentencing, the court can
     adopt facts contained in a PSR without inquiry, if those
     facts ha[ve] an adequate evidentiary basis and the
     defendant does not present rebuttal evidence.”        Id.
     (quoting United States v. Puig-Infante, 19 F.3d 929, 943
     (5th Cir. 1994. Furthermore, “[a] defendant’s rebuttal
     evidence must demonstrate that the information contained
     in the PSR is ‘materially untrue, inaccurate or
     unreliable,’ and ‘[m]ere objections do not suffice as
     competent rebuttal evidence.’”      Id. (quoting United
     States v. Parker, 133 F.3c 322, 329 (5th Cir. 1998).

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States Sentencing Guideline (“U.S.S.G.”) § 2B1.1.                         Because the

total    intended       loss   was    $408,536.59,       pursuant    to   U.S.S.G.    §

2B1.1(b)(1)(H), his offense level was increased by fourteen levels.

Because the offense charged involved sophisticated means pursuant

to U.S.S.G. § 2B1.1(b)(9)(C), his offense level was increased by

two levels.      Movant’s base offense level under U.S.S.G. § 2X1.1(a)

was 23. Second, because Movant accepted responsibility in a timely

manner pursuant to U.S.S.G. § 3E1.1(a) and (b), his base offense

level was reduced by three levels.                   Finally, with an adjusted

offense level of 20 and a criminal history category of III, Movant

had an advisory guideline sentencing range of 33-41 months.                          On

September 2, 1011, the Court sentenced Smith to a total term of

imprisonment of 41 months, to be followed by a three-year term of

supervised release, a special assessment of $100, and restitution

in the amount of $199,914.19 (#151).

        Smith did not appeal his sentence.

        Smith    filed    this   timely      §    2255   motion     challenging   the

calculation of his advisory guideline sentence.                     He contends that

the Court erred in calculating the amount of loss/restitution for

which he is responsible.             Second he contends that his base offense

level should not have been adjusted upward by two levels based on

Johnson’s, rather than his, use of sophisticated means.                      Last, he

argues    that    his    counsel      was   constitutionally        ineffective   for

failing to object to these two errors.


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        A federal prisoner may move to vacate, set aside, or correct

his sentence based on four grounds: (1) constitutional issues; (2)

challenges to the district court’s jurisdiction to impose the

sentence; (3) challenges to the length of the sentence in excess of

the    statutory    maximum;    and   (4)    claims   that   the   sentence    is

otherwise subject to collateral attack.           28 U.S.C. sec. 2255; U.S.

v. Placente, 81 F.3d 555, 558 (5th Cir. 1996).               “Relief under 28

U.S.C. § 2255 is reserved for transgressions of constitutional

rights and for a narrow range of injuries that could not have been

raised on direct appeal and would, if condoned, result in a

complete miscarriage of justice.”            U.S. v. Vaughn, 955 F.2d 367,

368 (5th Cir. 1992).       A writ of habeas corpus will not be allowed

to serve as an appeal.         Davis v. U.S., 417 U.S. 333, 345 (1974).

        As a matter of law, a district court’s alleged misapplication

of the sentencing guidelines, asserted in Movant’s first two

claims, does not give rise to a constitutional issue and cannot be

challenged in a section 2255 motion.           U.S. v. Payne, 99 F.3d 1273,

1281-82 (5th Cir. 1996), citing U.S. v. Vaughn, 955 F.2d at 368;

U.S. v. Williamson, 183 F.3d 458, 462 (5th Cir. 1999). Such a claim

is not constitutional and could have been raised on direct appeal.

Laws v. U.S., 263 F.3d 164 (Table), No. 00-41349, 2001 WL 803843,

*1 (5th Cir. June 14, 2001).          The Fifth Circuit has clearly held,

“A district court’s technical application of the Guidelines does

not give rise to a constitutional issue cognizable under § 2255.”


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United States v. Segler, 37 F.3d 1131, 1134 (5th Cir. 1994); United

States v. Payne, 99 F.3d 1273, 1281-82 (5th Cir. 1996).

        Nor is Smith’s challenge to the imposition of restitution in

the amount of $199,914.19 cognizable under § 2255.                   United States

v. Hatten, 167 F.3d 884, 887 (5th Cir. 1999)(“complaints against

restitution may not be addressed in a § 2255 proceeding”), citing

Segler, 37 F.3d at 1137; Campbell v. U.S., 330 Fed. Appx. 482, 482-

83 (Table), No. 08-40710, 2009 WL 1472217, *1 (5th Cir. May 27,

2009)(“A challenge to the restitution or fine portion of a sentence

is a nonconstitutional issue relative to sentencing that should be

raised on direct appeal and not for the first time in a § 2255

proceeding.           A district court lacks jurisdiction to modify a

restitution order under § 2255, a writ of coram nobis, or ‘any

other       federal    law.’   Further,       a   monetary     penalty     is   not   a

sufficient       restraint     on   liberty       to    meet   the   ‘in    custody’

requirements of § 22554 or § 2241.”), citing Hatten, 167 F.3d at

884 n. 5 and 886-87 & nn. 3 and 6, and Segler, 37 F.3d at 135 and

1162.

        Furthermore,      regarding   Smith’s          ineffective-assistance-of-

counsel claim, the Fifth Circuit has held that

        4
      Section 2255 provides, “A prisoner in custody under sentence
of a [federal] court, claiming the right to be released . . . may
move the court which imposed the sentence to vacate, set aside or
correct the sentence.”    The statute’s plain language provides
relief only to those challenging custody. “A monetary fine is not
a sufficient restraint on liberty to meet the ‘in custody’
requirement for § 2255 purposes.” Segler, 37 F.3d at 1137.

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     when a prisoner asserts an ineffective assistance of
     counsel claim under § 2255, he must satisfy Strickland’s
     prejudice requirement by showing harm that relates to his
     custody.     That is, if counsel’s constitutionally
     insufficient assistance affected the trial court’s guilt
     determination or the sentencer’s imposition of a prison
     term, a prisoner’s ineffective assistance of counsel
     claim falls within the scope of § 2255; if . . .it
     relates only to the imposition of a fine, his claim falls
     outside § 2255.”

Segler, 37 F.3d at 1137 (emphasis in original), citing U.S. v.

Michaud, 901 F.2d 5, 7 (1st Cir. 1990).            Smith’s release from

federal    custody   is   not   conditioned   on   his   payment    of      the

fine/restitution.    Thus Smith’s ineffective assistance of counsel

claim based on counsel’s failure to object to the allegedly

erroneous calculation of the amount of loss/restitution is not

cognizable under the statute because it is not related to his

custody.    See also U.S. v. Walker, 78 F.3d 582 (Table), (5th Cir.

Feb. 2, 1996)(“Because the failure of a defendant’s attorney to

challenge a fine does not relate to his incarceration, such claims

are improper under section 2255.          We extend this reasoning to

encompass restitution; if a fine does not relate to unlawful

custody,   then   neither    does   restitution.       For   this   reason,

[defendant’s] challenge to the ordered restitution and accompanying

claim of ineffective assistance do not pertain to unlawful custody

and, accordingly, fall outside the scope of section 2255.”);

Anderson v. U.S., Nos. 3:10-CV-02227-B-BH and 3:08-CR-134-B, 2010

WL 2382336, *3 (N.D. Tex. May 10, 2010).

     The Sixth Amendment right to counsel extends to the plea-

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bargaining process.        Lafler v. Cooper, 132 S. Ct. 1376, 1384

(2012), citing Missouri v. Frye, 132 S. Ct. at 1405, and Padilla v.

Kentucky, 130 S. Ct. 1473, 1486 (2010).               Moreover, the two-prong

test under Strickland v. Washington, 466 U.S. 668 (1984), “‘applies

to challenges to guilty pleas based on ineffective assistance of

counsel.’” Id., quoting Hill v. Lockhart, 474 U.S. 52, 58 (1985).

      To establish that counsel was ineffective, the defendant must

prove: (1) “that counsel made errors so serious that counsel was

not functioning as the ‘counsel’ guaranteed the defendant by the

Sixth Amendment,” Strickland, 466 U.S. at 687 (the “performance”

prong), and (2) “that the deficient performance prejudiced the

defense” (the “prejudice” prong).              Id.   The reviewing court need

not consider both prongs if the court finds that the defendant has

failed to prove either.           Id.         To prove that trial counsel's

deficient performance prejudiced the defense, the defendant must

demonstrate that “there is a reasonable probability that, but for

counsel's unprofessional errors, the result of the proceeding would

have been different,” id. at 694. “A reasonable probability is a

probability sufficient to undermine confidence in the outcome [of

a   criminal    trial].”    Id.         This     heavy   burden   requires    a

“substantial,” not merely a “conceivable,” likelihood of a different

result.    Harrington v. Richter, 131 S. Ct. 770, 787 (2011); see

also Cullen v. Pinholster, 131 S. Ct. 1388, 1403 (2011).                     In

deciding whether the result would have been different, “a court


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hearing an ineffectiveness claim must consider the totality of the

evidence before the judge or jury.”                  Strickland, 466 U.S. at 695;

Brown v. Thaler, 684 F.3d 482, 491 (5th Cir. 2012), cert. denied,

      S. Ct.     , No. 12-7258, 2011 WL 598586 (S. Ct. Feb. 19, 2013).

       In the context of a guilty plea, the Supreme Court and the

Fifth Circuit have held that a defendant must demonstrate that

counsel provided ineffective assistance and that but for counsel’s

errors, the defendant would not have pleaded guilty, but would have

gone to trial.     Hill, 474 U.S. 52; Joseph v. Butler, 838 F.2d 786,

792 (5th Cir. 1988).       The defendant must provide more than mere

allegations to that effect.           Joseph, 838 F.2d at 791.

       On a claim of ineffective assistance of counsel, the court is

“highly deferential” and there is a strong presumption “that

counsel’s      conduct   falls   within        the    wide   range    of    reasonable

professional     assistance”     or    “might        be   considered       sound   trial

strategy.”      Strickland, 466 U.S. at 689.              Courts must make “every

effort . . . to eliminate the distorting effects of hindsight, to

reconstruct the circumstances of counsel’s challenged conduct, and

to evaluate the conduct from counsel’s perspective at the time.”

Id.     “Under Strickland, there is a strong presumption that the

objections of an attorney, or the lack thereof, at a sentencing

hearing are part of a sound trial strategy.”                         U.S. v. Ramos-

Marrufo, 2012 WL 5059087, *3 (E.D. La. Oct. 18, 2012), citing

Strickland, 466 U.S. at 689.


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        Conclusory allegations, regardless whether they are made by a

pro se litigant or counsel, are insufficient to raise cognizable

claims of ineffective assistance of counsel.                 Miller v. Johnson,

200 F.3d 274, 282 (5th Cir. 2000), citing Ross v. Estelle, 694 F.2d

1008, 1012 (5th Cir. 1983).          Smith fails to provide any specific

facts     to   support   his     conclusory     allegations     that     counsel’s

performance was deficient, nor how he was prejudiced by counsel’s

failures. Thus he also fails to overcome the strong presumption of

reasonably adequate performance by counsel.

        Moreover, the transcript of Movant’s sentencing (#221) on

September 2, 2011 reflects that, contrary to Movant’s claims,

Plaintiff’s counsel did object to and competently argue matters

addressed in the PSR that are currently raised by Movant in his §

2255 motion:      (1) the attempted $19,606.14 transfer that was never

funded was unknown to Smith and therefore should not be included in

the intended loss figure (id. at pp. 3-8), which objection the

Court sustained; (2) that Smith is held responsible for using

sophisticated means when it was co-conspirator Johnson that did so

to conceal her fraudulent activity (id.                    at pp. 8-14), which

objection the Court overruled; (3) that Smith was only a minor

participant, not an average one (id. at pp. 14-18), which objection

the Court overruled.

        Because   the    Court    agrees      with   the    Magistrate    Judge’s

memorandum and recommendation, the Court ADOPTS it as the Court’s


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own.       The Court

       ORDERS that the government’s motion to dismiss (#219) is

GRANTED and Smith’s § 2255 motion (#212) is DENIED.

       An appeal of a final order in a habeas corpus proceeding

cannot be taken “unless a circuit justice or judge issues a

certificate of appealability.” 28 U.S.C. § 2253(c)(1)(A). Rule 11

of the § 2255 rules instructs this Court to “issue or deny a

certificate of appealability when it enters a final order adverse

to the § 2255 applicant even if the applicant does not request one

or file a notice of appeal.”      Because the Court finds that Movant

has failed to make a substantial showing of the denial of a

constitutional right, nor shown that reasonable jurists could

debate whether the motion should have been resolved differently,

nor that the issues raised by Movant should be encourage to proceed

further,5 the Court

       ORDERS that a certificate of appealability is DENIED.

       SIGNED at Houston, Texas, this     26th    day of   March , 2013.



                            ___________________________
                                    MELINDA HARMON
                            UNITED STATES DISTRICT JUDGE




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       Slack v. McDaniel, 529 U.S. 473, 483-84 (2000); U.S. v.
Jones, 287 F.3d 325, 329 (5th Cir. 2001).

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